Case 19-20771-tnw       Doc 9    Filed 06/24/19 Entered 06/25/19 07:41:46                Desc Main
                                 Document      Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                               COVINGTON DIVISION

  IN RE: SARAH JANE CLOUSE                                              DEBTOR
                                                                        CASE #: 19-20771

                     NOTICE AND OPPORTUNITY FOR HEARING
                           AND OBJECTION TO CLAIM

                                   NOTICE OF HEARING

         Notice is hereby given of this Objection to Claim. Unless a Response and

  Request for Hearing, stating grounds for opposing the Objection is filed within thirty (30)

  days of service of this Notice, an Order will be tendered sustaining the Objection and the

  matter will be submitted to the Court for decision. No hearing will be held unless a

  timely request for hearing is filed. Notice is further given that the attached order

  sustaining this objection is being tendered herewith.

                                CERTIFICATE OF SERVICE

         It is hereby certify that a true copy of the foregoing served electronically or by

  mail on June 24, 2019 to the persons and addresses indicated below.

                                  OBJECTION TO CLAIM

         The Debtor objects to the claim of First Financial Credit, Inc. (hereinafter First

  Financial) filed as claim number 1 in the amount of $632.51 as a secured claim. First

  Financial is claiming as a secured creditor in personal property. The proof of claim does

  not set forth what property is alleged to be collateral for the loan and no UCC has been

  filed to determine same. The Debtor acquired a personal loan from First Financial (this

  was not a purchase money loan).     As such, First Financial cannot be treated as a secured

  creditor herein.

         Wherefore, said claim of First Financial should be disallowed as a secured claim.

                                                          \s\Delores Woods Baker
                                                          DELORES WOODS BAKER
                                                          Attorney for Debtor
Case 19-20771-tnw       Doc 9    Filed 06/24/19 Entered 06/25/19 07:41:46            Desc Main
                                 Document      Page 2 of 2



                                 CERTIFICATE OF SERVICE

         It is hereby certify that a true copy of the foregoing served electronically on June
  24, 2019 to:

  Hon. Michael L. Baker, Trustee; US Trustee; and all others requesting electronic notice;

  and by first class mail, postage pre-paid to:

  First Financial Credit, Inc.
  1154 US Hwy 68
  Maysville, KY 41056

                                                        \s\Delores Woods Baker
                                                        DELORES WOODS BAKER
                                                        Attorney for Debtor
                                                        134 West Third Street
                                                        Maysville, Kentucky 41056
                                                        606-564-7969
